Case 1:21-cv-00056-LEK-RT Document 134 Filed 11/25/22 Page 1 of 1                PageID.1343

                                 MINUTE ORDER



  CASE NUMBER:             CIVIL NO. 21-00056 LEK-RT
  CASE NAME:               Ronda Smythe et al., v Brandon Saffeels et al.,


        JUDGE:      Leslie E. Kobayashi           DATE:             11/25/2022


 COURT ACTION: EO: COURT ORDER DIRECTING OBJECTORS TO FILE THEIR
 OBJECTION IN A MISCELLANEOUS CASE

         On November 23, 2022, Non-Party Gray Media Group Inc., doing business as
 KGMB/KHNL, owner and operator of Hawaii News Now; and Lynn Kawano
 (collectively “Objectors”) filed their Motion for Protective Order and/or to Quash
 Subpoena (“Motion”). [Dkt. no. 130.] Because the Objectors are not parties to the
 instant case, they are DIRECTED to open a miscellaneous case and to re-file their Motion
 in the miscellaneous case. This Court, in its discretion, sometimes elects to handle
 motions originally filed by third-parties in a miscellaneous case in the underlying criminal
 or civil case. However, no such election has been made in this case. The Motion that the
 Objectors filed in the instant case is therefore STRICKEN. If the Objectors re-file their
 Motion in a miscellaneous case, the re-filed Motion will be addressed in the
 miscellaneous case.

        IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
